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10
     Attorneys for Plaintiff,
     CESAR Z. MARAVILLA
11
                           IN THE UNITED STATES DISCTRICT COURT
12                              FOR THE DISTRICT OF NEVADA

13                                                  )   Case No. 2:19-cv-01256-GMN-DJA
     CESAR Z. MARAVILLA,                            )
14               Plaintiff,                         )
     v.                                             )
15                                                  )
     GLOBAL EQUITY HOLDINGS, INC. dba                   STIPULATION AND ORDER
                                                    )
     COLLECT SOURCE,                                    DISMISSING ACTION WITH
16                                                  )   PREJUDICE
                                                    )
17                  Defendant.                      )
                                                    )
18
                                                 STIPULATION
19
            Plaintiff Cesar Z. Maravilla and Defendant Global Equity Holdings, Inc. dba Collect
20
     Source (Collect Source) hereby stipulate and agree that the above-entitled action shall be
21
     …
22
     …
23   …
24   …
25   …
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                                                Page 1 of 2
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             Case 2:19-cv-01256-GMN-DJA Document 27 Filed 10/15/20 Page 2 of 2




 1   dismissed with prejudice in accordance with Fed. R. Civ. P. 41 (a)(2). Each party shall bear its

 2   own attorney's fees, prejudgment interest, and costs of suit.

 3           Dated: October 15, 2020

 4

 5
       By:     /s/ David Krieger, Esq.                   By:    /s/ Jarrod L. Rickard, Esq.
 6             David Krieger, Esq.                              Jarrod L. Rickard
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 9
               Henderson, Nevada 89052                          Las Vegas, Nevada 89145
               Attorney for Plaintiff                           Attorney for Defendant
10

11                                                ORDER

12
                                                       IT IS SO ORDERED.
13
                                                       Dated this ____
                                                                   15 day of October, 2020.
14

15

16                                                     ___________________________
                                                       Gloria M. Navarro, District Judge
17                                                     UNITED STATES DISTRICT COURT

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